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                               Exhibit 31



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                                  Page 1
                        UNITED STATES DISTRICT COURT

                          DISTRICT OF MASSACHUSETTS

     --------------------------------x

     In re: PHARMACEUTICAL INDUSTRY   )

     AVERAGE WHOLESALE PRICE          )

     LITIGATION                       )

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     United States of America ex rel.) MDL No. 1456

     Ven-A-Care of the Florida Keys, )

     Inc. v. Abbott Laboratories,     ) Civil Action

     Inc., Civil Action No. 06-       ) No. 01-12257-PBS

     11337-PBS; and United States of )

     America ex rel. Ven-A-Care of    ) Honorable

     the Florida Keys, Inc., v. Dey, ) Patti B. Saris

     Inc., et al., Civil Action No.   )

     05-11084-PBS; and United States )

     of America ex rel. Ven-A-Care    )

     of the Florida Keys, Inc., v.    )

     Boehringer Ingelheim Corp., et   )

     al., Civil Action No. 07-10248- )

     PBS                              )

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 1                         December 10, 2008               1         EXHIBITS CONTINUED:                  PAGE
 2                            Volume I                     2    Exhibit Roxane 002 Federal Register       129
 3            VIDEOTAPED DEPOSITION OF SUZETTE BRIDGES 3        Exhibit Roxane 003 Code of Federal Regulations 129
 4   Taken on behalf of the Plaintiff, produced, sworn,    4    Exhibit Roxane 004 DHS Document              151
 5   and examined on the 10th day of December, 2008,       5    Exhibit Roxane 005 HHC0190087               160
 6   between the hours of nine o'clock in the forenoon     6    Exhibit Roxane 006 HHC9020486               162
 7   and six o'clock in the evening of that day, at the    7    Exhibit Roxane 007 HHC)100997              165
 8   offices of United States Attorneys' Office, 425 West  8    Exhibit Roxane 008 HHD1860650 to 0663          168
 9   Capitol, Suite 500, Metropolitan Building, Little     9    Exhibit Roxane 009 HHD0210076 to 0114          191
10   Rock, Arkansas, before BRENDA ORSBORN, a Certified   10    Exhibit Roxane 010 ARK00007310 to 7436          205
11   Court Reporter within and for the State of Missouri, 11    Exhibit Roxane 011 ARK00007688 to 7806          233
12   in a certain cause now pending before the United     12    Exhibit Roxane 012 (Memorandum)             235
13   States District Court, District of Massachusetts,    13    Exhibit Roxane 013 AWP-IL-00010143            269
14   In re: Pharmaceutical Industry Average Wholesale     14    Exhibit Roxane 014 (Survey)            275
15   Price litigation.                                    15    Exhibit Roxane 015 ARK00006870 to 6932          292
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 2                                   Page                2             For the United States:
 3   Questions by Ms. Oberembt ..................... 9   3             Ms. Laurie A. Oberembt
 4   Questions by Mr. Reale ........................ 81  4             U.S. Department of Justice
 5                                                       5             Commercial Litigation Fraud
 6            INDEX OF EXHIBITS                          6             P.O. Box 261
 7   Exhibit Bridges 001 (Notice of Deposition)   12     7             Ben Franklin Station
 8   Exhibit Bridges 002 (Federal Register)     29       8             Washington, D.C. 20044
 9   Exhibit Bridges 003 (Draft)             31          9             (202)514-3345
10   Exhibit Bridges 004 ARK0004141              37     10             Laurie.oberembt@usdoj.gov
11   Exhibit Bridges 005 HHC092-0726             38     11
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14   Exhibit Bridges 008 ARK00002640 to 2646         47 14             Ms. Carmen Mosley-Sims
15   Exhibit Bridges 009 ARK00002783 to 3313         48 15             Arkansas Department of Human Services
16   Exhibit Bridges 010 ARK00003057 to 3067         53 16             700 Main Street, Slot S-260
17   Exhibit Bridges 011 ARK00002742 to 2770         54 17             Little Rock, Arkansas 72203
18   Exhibit Bridges 012 ARK00000087 to 0132         55 18             (501)602-1366
19   Exhibit Bridges 013 ARK00000117 to 0147         58 19             Carmen.mosley-sims@arkansas.gov
20   Exhibit Bridges 014 ARK00002151 to 2187         60 20
21   Exhibit Bridges 015 ARK00000788 to 0783         61 21
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 1   that to yourself? Do you -- do you see where it      1      A. Yes, it is.
 2   says that it refers to payment levels that the       2      Q. Do you know who prepared this chart?
 3   agency has determined by applying the lower of,      3      A. Yes, I do. I assisted the preparation.
 4   one, estimated acquisition cost, plus reasonable     4   We had to have -- because I wasn't totally
 5   expense and fees established by the agency, or,      5   remembering what all of the reimbursement
 6   two, the provider's usual and customary charges      6   formulas were in the past, I had EDS begin --
 7   to the general public?                               7   kind of go back in their history and see if they
 8       A. Yes.                                          8   could find something and had them put some of
 9       Q. Has your agency established a                 9   this together and then worked on it from there.
10   reimbursement methodology that applies these        10      Q. Is -- is this chart an accurate summary
11   elements?                                           11   of Arkansas' reimbursement methodology, including
12       A. Yes, ma'am.                                  12   the dispensing fee?
13       Q. How does the State define the usual and      13      A. Yes. The only thing that I question on
14   customary charges to the general public?            14   this chart since it's been updated is I've -- the
15       A. Based on -- we base it based on cash         15   Footnote No. 4 with the first line, I'm not
16   reimbursements by -- by that -- the usual and       16   definite on that, so I don't think it -- it needs
17   customary is determined on an audit. When the --    17   to be removed.
18   when the auditors go in, they look at what cash     18      Q. So other -- other than possibly
19   payers have paid on prescription drugs, is how we   19   deleting the reference to Footnote 4 there, is
20   look at a usual and customary charge.               20   this chart an accurate summary of Arkansas'
21       Q. If you could look at Section 447.301         21   reimbursement methodology, including the
22   which is the definition section. It's in the        22   dispensing fee?
                                             Page 31                                                   Page 33
 1   second column --                                     1       A. It is -- as far as I know, it is -- it
 2       A. Okay.                                         2   is accurate.
 3       Q. -- about three-quarters of the way            3       Q. Where is the State's reimbursement
 4   down. Actually, it's in the third column. I'm        4   formula typically written down?
 5   sorry. Do you see where that second definition       5       A. It will be in the State Plan Amendment,
 6   says "estimated acquisition costs"?                  6   and it will be in the policy manual.
 7       A. Yes, ma'am.                                   7       Q. What's a State Plan Amendment?
 8       Q. Are you familiar with that definition?        8       A. A State Plan Amendment is what we --
 9       A. Yes, ma'am.                                   9   for lack of better terminology, it's what we
10       Q. Has the State tried to determine             10   apply to CMS for for any of our programs, to get
11   estimated acquisition costs in accordance with      11   their approval, to obtain their approval.
12   that definition?                                    12       Q. And what is CMS?
13       A. To our best estimate, yes, we do.            13       A. Centers for Medicare and Medicaid.
14          MS. OBEREMBT: I'd like to mark as            14       Q. Is CMS a state entity or a federal
15   Exhibit 3 a chart that tries to summarize           15   entity?
16   Arkansas' reimbursement formulas and dispensing     16       A. Federal entity.
17   fees since 1990.                                    17       Q. Okay. And what agency is CMS a part
18          [Marked Exhibit Bridges 003]                 18   of?
19       A. Thank you.                                   19       A. The federal agency.
20       Q. (By Ms. Oberembt) Would you take a           20       Q. Okay. Is that the Department of Health
21   second to look over that chart, please? Is this     21   and Human Services?
22   chart familiar to you?                              22       A. Health and Human services.
                                                                                   9 (Pages 30 to 33)
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 1       Q. Why not?                                      1   therapeutically-equivalent brand, we -- that was
 2       A. If the brand is going -- if we're going       2   an incentive for the pharmacist to dispense the
 3   to -- if the ingredient cost on the brand is less    3   therapeutically-equivalent generic.
 4   than the -- the generic, then that defeats the       4       Q. Say in fast ten times.
 5   purpose of why you're setting a MAC. Because         5       A. No, thank you. No, thank you.
 6   you're setting a MAC because you've got a            6       Q. Is it -- is it your understanding that
 7   high-price brand out there, and you've got           7   the State is supposed to make its dispensing fee
 8   generic equivalents. So you want to make sure        8   determination separate from its determination of
 9   that the pharmacies will dispense the more           9   ingredient cost?
10   cost-effective product. So if you would set a       10       A. We've always considered them a separate
11   MAC on a brand, you would force use of a            11   entity, separate -- two separate things.
12   higher-cost generic, if such a thing existed. So    12       Q. Has Arkansas ever had any practice or
13   that wouldn't make any sense.                       13   policy of paying increasing ingredient costs to
14       Q. We've also gone over the dispensing          14   make up for inadequate dispensing fees?
15   fees that Arkansas has paid over the years. Has     15       A. No.
16   Arkansas ever faced any type of access issue        16       Q. Does the State itself operate the MAC
17   caused by an allegedly too-low dispensing fee?      17   Program?
18       A. No.                                          18       A. We do, yes, our state MAC Program.
19       Q. When -- when you said earlier that the       19       Q. And does the State have any assistance
20   pharmacist complained about the State's proposed    20   from an outside contractor on that?
21   change to AWP minus 25 percent, did -- did DHS      21       A. We have a -- an individual that works
22   receive any information from a pharmacist saying    22   strictly for us through an outside contract, yes.
                                               Page 67                                                  Page 69
 1   that -- that "My dispensing fee is too low, and      1       Q. And is the outside contract with EDS?
 2   so you need to make it up for me on the              2       A. Yes.
 3   ingredient cost"?                                    3       Q. And why did the State decide to have an
 4       A. Oh, no. I mean, no. They wouldn't             4   outside contract with EDS for its MAC Program?
 5   have said -- no. Our -- our dispensing fee has       5       A. Well, we really needed somebody that
 6   generally been claimed to be some -- at one time     6   could be more dedicated to applying the MACs and
 7   we were higher than most of the other states on      7   have that time to spend to -- so that we could
 8   our dispensing fee, so we've never really had        8   apply -- have more drug -- what am I trying to
 9   pharmacists complain about our dispensing fee.       9   say? There are so many drugs available,
10       Q. On the chart that's Exhibit 3, there's       10   generically available, we didn't have the staff
11   a reflection that beginning in March of 2002, an    11   to -- to apply State MACs to all of those that
12   additional differential dispensing fee of $2        12   didn't have federal upper limits on them. So it
13   shall be given to pharmacy providers when a         13   was in the best interest of the state to get
14   generic that does not have a State or Federal       14   somebody in there that could be more -- could be
15   upper limit is dispensed, and I'm reading from      15   dedicated to establishing upper limits on -- on
16   Footnote 8 on Exhibit 3, if you want to pull that   16   generics that were available.
17   out. What was the purpose of -- of that change      17       Q. If a -- if a pharmaceutical
18   to the reimbursement formula?                       18   manufacturer wrote to the State and said that its
19       A. We had some generics that didn't have        19   reported AWP was not reliable, do you have a way
20   upper limits on them, and so as an incentive for    20   to sort of manually change the reimbursement for
21   the pharmacist to -- to dispense those, rather      21   a particular drug?
22   than trying to dispense a                           22       A. We can't --
                                                                                  18 (Pages 66 to 69)
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                                             Page 70                                                  Page 72
 1          MR. REALE: Objection, form.                   1       Q. Have you ever heard of the concept of
 2      A. We can't change the -- we have no              2   -- of trying to reverse engineer an AMP from
 3   control over the AWP field. We can't -- we can't     3   something called the unit rebate amount?
 4   manipulate that.                                     4       A. Not -- I've -- no. I've never heard of
 5      Q. (By Ms. Oberembt) So whatever AWP is           5   such a thing of trying to go backwards, no.
 6   reported by the manufacturer, that's the AWP that    6       Q. Has anybody at DHS, to your knowledge,
 7   you have to use in your system; is that correct?     7   ever attempted to reverse engineer an AMP from a
 8      A. Well, whatever AWP is submitted to us          8   unit rebate amount?
 9   by First DataBank is what we have to use.            9       A. Not that I'm aware of, no. I can't
10          MR. BERLIN: Objection to form. And if        10   imagine anybody wanting to try to attempt to do
11   we can just have a little bit of room to make       11   that.
12   objections, if necessary, please.                   12       Q. In the -- in the preparation you've
13          MS. OBEREMBT: I think John objected to       13   done today for the deposition, have you seen any
14   that, Eric.                                         14   evidence that anybody at DHS ever tried to
15          MR. BERLIN: Okay. I just didn't hear.        15   reverse engineer an AMP from a unit rebate
16   Thanks, though.                                     16   amount?
17      Q. (By Ms. Oberembt) Have you ever heard         17       A. No, ma'am.
18   the term "AMP"?                                     18       Q. Is the Rebate Program separate from the
19      A. I've heard the term "AMP". Yes.               19   -- the Reimbursement Program here?
20      Q. Okay. What does "AMP" stand for?              20       A. They're two different things. They're
21      A. Average Manufacturer Price.                   21   -- the reimbursement and the rebate are not --
22      Q. And what's your understanding of that?        22   are two totally separate entities.
                                             Page 71                                                  Page 73
 1       A. Basically, the definition, what I             1       Q. Does Arkansas have a Supplemental
 2   picture it to be is an average of the                2   Rebate Program?
 3   manufacturer's prices to different entities. But     3       A. Yes.
 4   that's really all I know. I don't -- I'm not         4       Q. Okay. And does -- does your staff
 5   that familiar with -- with the actual AMP. My        5   operate that, or did you contract that out?
 6   understanding, too, is that the AMP is not a         6       A. It's be -- well, we handle the
 7   public -- let me think of the word I'm looking       7   contracts, but EDS is the one who processes all
 8   for. Give me a minute. Published. The AMP is         8   of the rebate invoices for that.
 9   not a published price, so it's not something we      9       Q. The United States alleges in its
10   have access to.                                     10   complaint that the defendants here, Dey, Abbott
11       Q. Is it your understanding that AMP is --      11   and Roxane, knowingly reported falsely-inflated
12   is confidential effectively?                        12   AWPs to FDB with the intention of causing the
13       A. Correct.                                     13   Medicaid Program to pay inflated reimbursements
14       Q. Prior to 2006, did DHS ever receive AMP      14   to their customers. In your preparation for the
15   data?                                               15   deposition, have you seen any -- any evidence
16       A. No, we didn't. With the -- when the          16   that anybody at DHS approved the reporting of
17   Deficit Reduction Act talked about the changes in   17   inflated AWPs by either Dey or Abbott or Roxane?
18   calculating the FUL, they began to send us some     18       A. No.
19   AMP information, but because of the -- they         19          MR. REALE: Objection, form. Outside
20   weren't moving forward on the FUL changes, we       20   the scope.
21   really didn't utilize it. We had no reason to       21          MS. MANGIARDI: Objection.
22   use it.                                             22       Q. (By Ms. Oberembt) You can answer.
                                                                                 19 (Pages 70 to 73)
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 1        A. No, ma'am.                                 1       Q. In -- in the processing of the claims,
 2        Q. Have you seen any evidence that Dey or     2   are any numbers ever rounded by EDS?
 3   Abbott or Roxane came in and informed anybody at 3         A. The system would round when the payment
 4   DHS that they were reporting falsely-inflated      4   is made. The -- the way the price is in -- in
 5   AWPs to FDB?                                       5   the system, I want to say it's a four-digit price
 6           MR. REALE: Objection, form.                6   that calculates the EAC, but when the final
 7        A. No, ma'am, not that I'm aware of at        7   payment is calculated, it's rounded to two
 8   all.                                               8   digits.
 9        Q. (By Ms. Oberembt) What does the term       9       Q. When there's a change in the
10   "NDC" stand for?                                  10   reimbursement methodology, as we've seen in
11        A. National Drug Code. It's what             11   Exhibit 3 over the years, is that made effective
12   identifies the manufacturer, the package size and 12   on the date of service?
13   the product.                                      13       A. It's based on date of service, yes.
14        Q. And how many NDCs does the Arkansas       14       Q. How frequently does EDS get updated
15   Medicaid Program cover?                           15   prices from FDB?
16        A. There are approximately 25,000 NDCs       16       A. First Data -- we are one of the states
17   that we reimburse for at any given time.          17   that receive a weekly tape from First DataBank.
18        Q. How many claims does the Arkansas         18   It's my understanding that that is implemented or
19   Pharmacy Program process every year?              19   put into the system on Tuesdays, for the most
20        A. It ranges from 4.5 to 5 million. With     20   part.
21   the change in Medicare Part D, it dropped a       21       Q. Have you ever heard of a -- a price
22   little bit, and then it's -- so it was at 5       22   being missing from the database?
                                            Page 75                                                   Page 77
 1   million, but it's right about 4.5 now.            1        A. Actually, I've never heard of that.
 2      Q. And I believe you said earlier that EDS     2    Like a -- like a -- an AWP missing or something?
 3   processes the claims electronically; is that      3        Q. Right.
 4   right?                                            4        A. Not that I'm aware of.
 5      A. That's correct.                             5        Q. Okay. What would happen -- or do you
 6      Q. Does EDS send pharmacy claims data to       6    know what would happen if a price was missing
 7   CMS?                                              7    from the database?
 8      A. Yes. That's my understanding.               8        A. If an AWP price was missing, the claim
 9      Q. Are there any provider types whose          9    wouldn't be able to pay. Now, if had an upper
10   claims are not paid based on the reimbursement   10    limit in that field, then it could -- it would
11   methodologies set forth in Exhibit 3?            11    pay at the upper limit price. But if -- if those
12      A. Well, only pharmacy providers --           12    fields were missing, the claim would just reject.
13      Q. Right.                                     13        Q. Are there any payments for repackaging
14      A. -- are reimbursed under this. Other        14    or unit dose or some type of other add-on that
15   provider types would not be reimbursed under     15    might not be represented in the State's claims
16   these formulas.                                  16    data?
17      Q. Okay. Are there any pharmacy providers     17        A. No.
18   who are reimbursed under formulas, other than    18        Q. Are there any deductions that might not
19   what we have shown here in Exhibit 3?            19    be represented in the States claims data?
20      A. Oh, no. No. All pharmacies are             20        A. No. I mean, the co-pay, if that -- but
21   reimbursed the same. It's consistent to all      21    that would still be represented in our data, so
22   pharmacy providers.                              22    --
                                                                                20 (Pages 74 to 77)
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 1   second full paragraph, OIG reports that it's         1   trying our best to reimburse closer to the
 2   estimated that pharmacies pay an average of 42.5     2   acquisition cost on a generic drug.
 3   percent less than AWP for drugs sold to the          3       Q. (By Mr. Reale) How long has Arkansas'
 4   Medicaid beneficiaries. Do you see that              4   Medicaid MAC Program been in place, the State
 5   language?                                            5   Upper Limit Program?
 6      A. Yeah. I'm trying to read it, actually.         6       A. When I came onboard, there were State
 7      Q. Okay. Now, Arkansas never disputed the         7   MACs in place at that point in time.
 8   findings of this report, correct?                    8       Q. And you testified that the MAC prices
 9          MS. OBEREMBT: Objection.                      9   -- sorry. You state -- you testified earlier
10      A. This was just information. There was          10   that the MAC prices set by Arkansas' Medicaid
11   nothing to respond to or comment on, to my          11   Program were based on actual acquisition cost to
12   knowledge. I mean, this doesn't look like it's a    12   pharmacies?
13   document to respond to. It just looks like it's     13       A. I never said that.
14   information.                                        14       Q. Well, how is the MAC Program set up?
15      Q. (By Mr. Reale) And it's information           15       A. Again, the -- the MAC Program, we -- we
16   that is available to Arkansas' Medicaid Program     16   have an individual that currently does that for
17   to consider when it sets its reimbursement rates?   17   us today. Basically, he will -- when we are aware
18      A. Again, it's information for us to -- to       18   that there are some generics that have become
19   be aware of.                                        19   available for a brand, generic equivalents, he
20      Q. And the specific information in this          20   will obtain -- he'll -- he'll find out from
21   report is the level of discounts that were          21   different pharmacies. He'll call pharmacies who
22   available, on average, to pharmacies that           22   -- who are willing to work with us, give us their
                                             Page 243                                                  Page 245
 1   purchased generic drugs?                             1   invoice price, what they pay for the drug.
 2       A. Are you asking me a question?                 2          We don't -- their invoice price. He'll
 3       Q. Yes.                                          3   also get from them the different prices that they
 4       A. I'm sorry. I thought you were making a        4   pay for their generics and just kind of --
 5   statement.                                           5   through some type of an analysis -- I don't know
 6       Q. In the information in -- in this report       6   the full detail of how he does it, but we'll
 7   was the level of discounts that were available to    7   determine a MAC on -- on that generic -- on the
 8   pharmacies that purchased generic drugs, correct?    8   generic, on the GCN. Are you familiar with the
 9       A. This appears to be -- the statement we        9   GCN?
10   read in the back referred to -- to generic drugs,   10       Q. Yes. But why don't, for the record,
11   yes.                                                11   you say what that is?
12       Q. And in 1997, all the way up to the           12       A. The GCN is a single number that will
13   present, Arkansas' Medicaid department has never    13   encompass multiple NDCs, so that rather than
14   adopted a reimbursement rate to reflect the         14   having to apply something to each specific NDC,
15   average discounts that were reported in 1997?       15   it represents that specific drug, its dosage
16          MS. MOSLEY-SIMS: Objection.                  16   form, its route of administration, so that you
17       A. Again, although that may not have            17   don't have to be with a lot of numbers.
18   changed, we -- we still have a State upper limit    18       Q. So is -- is it fair to say that a MAC
19   that -- that would -- based -- based on any type    19   price that's set for a generic drug is not based
20   of information like this, that doesn't mean we're   20   on AWP?
21   not pursuing, because we -- when we're setting      21       A. It's not -- it doesn't reimburse off of
22   State upper limits or our MACs, then we are         22   AWP. We might look at what the acquisition cost
                                                                              62 (Pages 242 to 245)
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 1   of that brand is.                                  1      saying we don't have a physical invoice to look
 2       Q. Okay.                                       2      at. We're calling them and we're -- we're
 3       A. Okay. We -- like if -- if you have a        3      putting our trust in them that they're giving us
 4   -- the easiest way for me to explain it, if you    4      an honest number of what they pay for the drug.
 5   have a brand and you know that -- what we would    5          Q. (By Mr. Reale) And -- and the MAC price
 6   reimburse based on our reimbursement formula, AWP 6       is below the AWP, correct?
 7   minus 14 percent, then you -- he also finds out    7          A. Yes.
 8   from the pharmacy what that actual cost of that    8          Q. And it's actually below the estimated
 9   brand is just as a comparison tool, so that when   9      acquisition cost, correct?
10   he is setting the MAC, he can make that -- make a 10          A. Yeah. That's correct.
11   comparable determination.                         11          Q. So the MAC price is not based on AWP?
12       Q. Is -- is the MAC based in part on the      12          A. That's correct.
13   invoice price of generic drugs within the GCN?    13          Q. It's based on actual invoices that --
14       A. The MAC looks at what the pharmacies       14          A. It's based on what pharmacies say they
15   tell us are the invoice price for the different   15      have paid for the prescription.
16   NDCs within that GCN. So he has a -- he'll        16          Q. How many drugs are subject to the MAC?
17   determine -- he'll put them -- I'm not good at    17          A. I don't know. I don't know.
18   explaining how he does it. He puts them all on a  18          Q. More than 1,000?
19   spreadsheet. He develops a spreadsheet of all of  19          A. That's a -- when you say actual drugs
20   the NDCs that he can obtain within that GCN and   20      or GCNs, there's a big difference.
21   gets the invoice prices from the -- from the      21          Q. Well --
22   pharmacies.                                       22          A. And so I don't know how to answer that
                                               Page 247                                                 Page 249
 1       Q. Right. And those invoice prices aren't         1   question. There would have been --
 2   AWP, but those are the invoice prices at which        2       Q. How many GCNs are subject to the State
 3   they actually pay the wholesale of the actual --      3   MAC?
 4       A. That's the invoice price. The invoice          4       A. I honestly -- I honestly do not know.
 5   price. We don't know in the -- you know, if           5   I'd have to pull the upper limit list online and
 6   there's other discounts involved in that at all.      6   look to see which ones are Federal upper limits
 7   It's strictly the invoice price. What the             7   and which ones are State. I don't know.
 8   pharmacy tells us. We don't actually see the          8       Q. Do you believe it's more than 500 that
 9   invoice. He will call, and they will say this is      9   are subject to a State MAC?
10   what I pay. So it's at our best -- we're taking      10       A. I don't know. I mean, there are --
11   the pharmacy at their word for what they're          11   there are several, but I honestly cannot tell you
12   saying they actually pay for -- for some             12   how many. I've never just gone in to look to
13   products.                                            13   count. That's -- that's not part of what I do.
14       Q. Do you have any reason to suspect that        14   That's not --
15   the pharmacies are giving you a fraudulent           15       Q. And I believe you testified it's an
16   number?                                              16   individual EDS that actually surveys the
17           MS. OBEREMBT: Objection.                     17   pharmacies to determine their acquisition --
18       A. Objection. Listen to me, objection.           18       A. He's contracted to do that for us.
19   No, I'm going -- no, I don't suspect that they're    19   That's just one of his job duties. He has
20   giving us a fraudulent number. I mean, it's          20   several other job duties, but that's one of his.
21   based on trust, so I definitely don't feel like      21       Q. But one of his job duties is dedicated
22   they're giving us a fraudulent number. I'm just      22   solely to determining a MAC price?
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 1      A. One of his job duties is to assist us        1   have an accurate percent off of AWP, but I mean,
 2   with the MAC pricing.                              2   based on this, we're -- again, this is an
 3      Q. Okay. We can take a break now.               3   average. Not every pharmacy might be able to
 4          VIDEOGRAPHER: Going off record at 3:11 4        accommodate that average. So we just can't do
 5   p.m., ending Tape 5.                               5   that.
 6          (Whereupon, a break was taken.)             6      Q. Right. I mean, that's precisely how
 7          VIDEOGRAPHER: Back on the record at         7   averages work. Some receive discounts off of AWP
 8   3:23 p.m.                                          8   much greater than 40 percent, correct?
 9      Q. (By Mr. Reale) Hello again. Before our       9          MS. OBEREMBT: Objection.
10   break, we were talking about Arkansas' State MAC 10       A. I don't know the answer to that. I
11   Program, and you testified that the State MAC     11   know that there are discounts off of AWP for
12   prices that were set for generic drugs were not   12   generics that may be greater than 40 percent, but
13   based on AWP; is that correct?                    13   I don't know about much greater. And I don't
14      A. That's correct.                             14   know that -- again, I don't know the spread of --
15      Q. And the State MAC prices that were set      15   and the quantities of each percent off of AWP.
16   were lower than the estimated acquisition cost as 16      Q. (By Mr. Reale) Well, why not then adopt
17   that is defined by Arkansas Medicaid?             17   a definition of estimated acquisition cost for
18      A. That's correct.                             18   generic drugs of AWP minus 30 percent if, on
19      Q. And they're based, the MAC prices, on       19   average, pharmacies were acquiring those drugs at
20   actual invoice prices of drugs in Arkansas?       20   discounts of over 40 percent off of AWP?
21      A. Well, again, they're based on what the      21      A. I can't answer why. I -- I don't have
22   pharmacy says they have paid for the product.     22   a direct answer for that. Again, we -- we
                                           Page 251                                                 Page 253
 1       Q. And you have no reason to doubt that        1   establish MACs, and our discount off of AWP is
 2   pharmacies are submitting you accurate and         2   right now at AWP minus 20 percent.
 3   truthful information?                              3       Q. And although AWP minus 20 percent is
 4       A. I have no reason to doubt.                  4   still not approximating the findings of OIG back
 5       Q. Now, when we looked at the 1997 report,     5   in 1997, right?
 6   which we marked as Roxane Exhibit 12, and in       6       A. According to this, they're saying on
 7   particular, the finding that pharmacies, on        7   average that the -- a -- the discount is 42.5
 8   average, paid 42.5 percent less than AWP for       8   percent less than AWP.
 9   drugs sold to Medicaid beneficiaries, you          9       Q. So on average, pharmacies are receiving
10   referenced the State's MAC Program in the context 10   a 22.5 percent net margin for generic drugs
11   that -- of our discussion. Do you recall that?    11   reimbursed by Arkansas' Medicaid Program?
12       A. Yes.                                       12          MS. MOSLEY-SIMS: Objection.
13       Q. Is it your testimony that the State's      13       A. Again, I'm not meaning to sound
14   MAC Program achieved savings of 42.5 percent less 14   difficult, but what I'm -- what I'm going to say
15   than AWP on most drugs?                           15   is the State should not have to be the ones to
16       A. I really can't answer that. I don't --     16   police this issue. If the manufacturers would
17   I can't be definite on that.                      17   provide a more accurate AWP, then we wouldn't
18       Q. Why wouldn't Arkansas' Medicaid Program 18      have to be worrying about, you know, what
19   adopt a definition of estimated acquisition cost  19   pharmacy received what price and what percentage
20   for generic drugs of AWP minus 40 percent?        20   off. So then it would be a much easier process.
21       A. If we knew that the AWPs that were         21   So why we don't do it, I can't answer that
22   being provided to us were accurate, then we could 22   question directly.
                                                                            64 (Pages 250 to 253)
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 1   FUL price that had also been set, correct? For    1      Q. Do you agree with that statement?
 2   drugs for which there was a FUL they were         2          MS. MOSLEY-SIMS: Objection.
 3   purchased at rates on average of 45.9 percent of  3      A. Do I agree with that statement? It
 4   the FUL? In other words, the FUL minus about 54 4     depends on in what way you mean I agree with that
 5   percent; isn't that correct?                      5   statement. I think there should be several
 6       A. I don't know. I'm trying to -- I'm         6   factors as far as it relates to maintaining
 7   trying to make sure I'm -- I'm answering          7   access.
 8   correctly. It's just saying 45.9 percent of the   8      Q. (By Mr. Reale) Right. So one of the
 9   FUL. It's not saying what it is off of the AWP.   9   factors that Arkansas must consider when it sets
10   That's why I'm a little bit concerned.           10   the reimbursement rate is the need to maintain
11       Q. Oh, I'm sorry. I meant off the FUL.       11   sufficient access to services for Medicaid
12   So the FUL minus 54 percent. Let me -- let me    12   recipients throughout the state; is that correct?
13   ask that again. If I was -- if I said that       13      A. That's correct.
14   incorrectly.                                     14          MS. FORD: Objection to form.
15           Even for drugs for which a FUL had been  15      Q. (By Mr. Reale) And another factor that
16   set, the average acquisition cost for pharmacies 16   Arkansas must consider are the politics and
17   was at a level below the Federal upper limit;    17   provider relations; is that correct?
18   isn't that correct?                              18          MS. MOSLEY-SIMS: Objection.
19       A. That's what this is stating, that these   19      Q. (By Mr. Reale) Okay. So do you
20   were -- that's what this is stating.             20   remember the question?
21           MR. REALE: I can only assume that        21      A. Yes. I think I'm with you now.
22   they're letting us out, right?                   22      Q. Okay. So another factor that Arkansas
                                          Page 299                                                 Page 301
 1          VIDEOGRAPHER: Going off record at 4:19 1       must consider when it sets its reimbursement rate
 2   p.m. ending Tape 6.                               2   are politics. Do you agree with that?
 3          (Whereupon, a break was taken.)            3       A. I think that that's the -- the
 4          (At this point in the proceedings, Ms.     4   consideration of politics and provider relations
 5   Oberembt left the deposition. Rebecca Ford        5   are -- will also be involved, yes. I don't
 6   entered the deposition telephonically.)           6   disagree.
 7          VIDEOGRAPHER: Back on record at 4:27       7       Q. And how have politics played a role in
 8   p.m.                                              8   Arkansas' setting of the reimbursement rate?
 9       Q. (By Mr. Reale) Continuing with Roxane      9       A. Well, I hate to use the word
10   Exhibit 16, on Bates Page 6936, Myers and        10   "politics", but provider relations more than
11   Stauffer, excuse me, presents its conclusions.   11   anything. When we set the rate as we had talked
12   Do you see that section of the report?           12   about earlier today at AWP minus 25 percent and
13       A. I'm sorry. I went ahead of you.           13   the pharmacy community was very vocal that they
14       Q. And you can review that first paragraph   14   felt that -- those that were vocal felt that 25
15   if you'd like.                                   15   percent, they could not purchase all of their
16       A. I see it.                                 16   generics at that price, so that -- and that 20
17       Q. Do you agree that there are several       17   percent was a recommendation or a suggestion.
18   factors that should be considered in determining 18       Q. Did pharmacies at that time tell you
19   an appropriate Medicaid pharmacy reimbursement 19     that on average, they couldn't acquire their
20   formula, other than dispensing and drug          20   multiple-source drugs at rates of AWP minus 25
21   acquisition costs incurred by pharmacies?        21   percent?
22       A. I see that.                               22       A. Honestly, I don't remember the exact
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